            Case 2:11-cv-00168-TSZ Document 55-1 Filed 08/06/12 Page 1 of 3




 1                                                       THE HONORABLE THOMAS ZILLY

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 7                         UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
     MORGAN & SAMPSON PACIFIC, a
 9   California partnership,
                                                      NO. 2:11-cv-00168 TSZ
10                                Plaintiff,
                                                      [PROPOSED] ORDER GRANTING
11          v.                                        MOTION TO DISMISS FOR FAILURE
                                                      TO COOPERATE IN TRIAL
12   INTERNATIONAL VITAMIN                            PREPARATION
     CORPORATION, a corporation, and DOES 1
13   through 10,                                      NOTE ON MOTION CALENDAR:
                                                      AUGUST 31, 2012
14                                Defendant.

15          THIS MATTER came before the undersigned Judge of the above-entitled Court on
16   Defendant’s Motion to Dismiss for Failure to Cooperate in Trial Preparation, The Court,
17
     deeming itself fully advised and having reviewed the following documents:
18
            1.     Defendant International Vitamin Corporation’s Motion to Dismiss for Failure
19                 to Cooperate in Trial Preparation;

20          2.     Declaration of Jeffrey E. Bilanko in Support of Motion to Dismiss;

21          3.     _________________________________________________________; and

22          4.     _________________________________________________________.

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     ORDER GRANTING MOTION TO
                                                                     GORDON & REES LLP
     DISMISS - 1                                                     701 5th Avenue, Suite 2100
     Case No. 2:11-cv-00168 TSZ                                      Seattle, WA 98104
                                                                     Telephone: (206) 695-5100
                                                                     Facsimile: (206) 689-2822
            Case 2:11-cv-00168-TSZ Document 55-1 Filed 08/06/12 Page 2 of 3




 1          ACCORDINGLY, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that
 2   Defendant’s Motion to Dismiss is GRANTED.
 3

 4
                     DATED this ______ day of ___________________, 2011.
 5

 6

 7                                            Honorable Thomas Zilly
                                              United States District Court Judge
 8

 9
     Presented by:
10
     GORDON & REES LLP
11
             /s/ Jeffrey E. Bilanko
12   Donald J. Verfurth, WSBA No. 15554
     Jeffrey E. Bilanko, WSBA No. 38829
13   Brandon R. Carroll, WSBA No. 39510
     Ryan G. Foltz, WSBA No. 30696
14   dverfurth@gordonrees.com
     jbilanko@gordonrees.com
15   bcarroll@gordonrees.com
     rfoltz@gordonrees.com
16   701 Fifth Avenue, Suite 2100
     Seattle, WA 98104
17   Phone: (206) 695-5100
     Fax: (206) 689-2822
18   Attorneys for Defendant
     International Vitamin Corp.
19

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     ORDER GRANTING MOTION TO
                                                                  GORDON & REES LLP
     DISMISS - 2                                                  701 5th Avenue, Suite 2100
     Case No. 2:11-cv-00168 TSZ                                   Seattle, WA 98104
                                                                  Telephone: (206) 695-5100
                                                                  Facsimile: (206) 689-2822
                Case 2:11-cv-00168-TSZ Document 55-1 Filed 08/06/12 Page 3 of 3




 1                                     CERTIFICATE OF SERVICE

 2               I hereby certify that on August 6, 2012, I electronically filed the foregoing with the
 3   Clerk of the Court using the CM/ECF system which will send notification of such filing to the
 4
     following:
 5

 6   Troy C McMahan…….tcmesquire@hotmail.com, tcm@byu.net
 7
     Todd Christian Anderson……toddcanderson@cox.net, linda@johnandersonlaw.com
 8
     John H Anderson…… john@johnandersonlaw.com, linda@johnandersonlaw.com
 9
     Jonathan Kolb Sitkin……jsitkin@chmelik.com, jbrumfield@chmelik.com
10

11

12

13                                                     /s/ Liana Natividad
                                                      Liana Natividad, Legal Assistant
14
                                                      Gordon & Rees LLP
15                                                    701 Fifth Avenue, Suite 2100
                                                      Seattle, WA 98104
16                                                    Phone:(206) 695-5100
                                                      lnatividad@gordonrees.com
17

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     ORDER GRANTING MOTION TO
                                                                          GORDON & REES LLP
     DISMISS - 3                                                          701 5th Avenue, Suite 2100
     Case No. 2:11-cv-00168 TSZ                                           Seattle, WA 98104
     CG/1068003/13254998v.1                                               Telephone: (206) 695-5100
                                                                          Facsimile: (206) 689-2822
